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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 ESTATE OF ESTHER KLIEMAN, et al.,

                                  Plaintiffs,               Civil Action No. 04-1173 (PLF)

            v.

 THE PALESTINIAN AUTHORITY, et al.,

                                  Defendants.



         THIRD NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
        DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL

        Defendants Palestinian Authority (“PA”) and Palestine Liberation Organization (“PLO”)

(together, “Defendants”), by and through their undersigned counsel, hereby submit the attached

decision from Sokolow v. PLO, Case No. 04 Civ. 397 (GBD), Dkt. 1054 (S.D.N.Y. Mar. 10, 2022),

as supplemental authority in support of their Opposition to Plaintiffs’ Motion to Compel [Dkt.

320/321].

        In Sokolow, Judge Daniels held that the Promoting Security and Justice for Victims of

Terrorism Act (“PSJVTA”) is unconstitutional and that a “finding that Defendants have impliedly

consented to personal jurisdiction based solely on their conduct in violation of the PSJVTA would

violate the due process clause of the constitution.” Sokolow, Dkt. 1054 at 11. Specifically, Judge

Daniels’ March 10 Memorandum Decision and Order addressed:              “(1) whether the factual

predicates for application of the PSJVTA have been met; and (2) whether application of the statute

is unconstitutional.” Id. at 1.

        As to the first issue, consistent with Defendants’ discovery responses in this case, for

purposes of briefing the applicability of the PSJVTA in Sokolow, Defendants “d[id] not contest
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that they made payments triggering the application of the PSJVTA under 18 [U.S.C.] §

2334(e)(1)(A)” – the “Payments Predicate.” Sokolow, Dkt. 1054 at 5. Defendants, however, did

contest Plaintiffs’ allegation that the PSJVTA also applied under 18 U.S.C. § 2334(e)(1)(B) – the

“U.S. Activity Predicate.” Id. at 5. The Sokolow court held that “[h]aving determined that the

PSJVTA applies under 18 U.S.C. 2334(e)(1)(A)(ii), this Court does not reach the issue of whether

the factual predicates in” the U.S. Activity Predicate have been satisfied. Id. at 8 n.3. With the

Payments Predicate satisfied, the Sokolow court then addressed the constitutionality of the

PSJVTA, concluding that the PSJVTA is unconstitutional. Id. at 12.

       Sokolow, like the earlier decision in Fuld v. PLO, No. 20-CV-3374, 2022 U.S. Dist. LEXIS

3102 (S.D.N.Y. Jan. 6, 2022)1, confirms that Plaintiffs’ Motion to Compel [Dkt. 315] should be

denied. Specifically, further jurisdictional discovery in this case is futile, because as explained in

the Sokolow and Fuld opinions, the PSJVTA cannot constitutionally supply a basis for personal

jurisdiction over Defendants. Moreover, like Fuld, the Sokolow court found that if the PSJVTA is

triggered by the first predicate, there is no need for the court to decide the applicability of the

second predicate. Sokolow, Dkt. 1054 at 8 n.3. Following the reasoning in Sokolow and Fuld,

there is no reason for further discovery on the U.S. Activity Predicate (which is the subject to

Plaintiffs’ Motion to Compel), as Plaintiffs cannot demonstrate “what facts additional discovery

could produce that would affect [the] jurisdictional analysis.” Mwani v. Bin Laden, 417 F.3d 1,

17 (D.C. Cir. 2005) (citation omitted).

       Plaintiffs have obtained more than sufficient jurisdictional discovery in this case to litigate

the PSJVTA factual predicates. The Court should accordingly deny their Motion to Compel.




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Defendants filed a Second Notice of Supplemental Authority addressing the Fuld decision. Dkt. 328.

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March 11, 2022                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2022, I caused a true and correct copy of the foregoing

Third Notice of Supplemental Authority on behalf of The Palestinian Authority and Palestine

Liberation Organization to be served through the Court’s CM/ECF System on all counsel of record

in this action.




                                             /s/ Gassan A. Baloul
                                             Gassan A. Baloul




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